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                                        Exhibit E

                                   Coverick Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                      Chapter 11

    FTX TRADING LTD., et al.,1                                  Case No. 22-11068 (JTD)

                      Debtors.                                  (Jointly Administered)


        DECLARATION OF STEVEN P. COVERICK IN SUPPORT OF MOTION OF
       DEBTORS FOR ENTRY OF AN ORDER (I) AUTHORIZING AND APPROVING
        ENTRY INTO, AND PERFORMANCE UNDER, THE COLLATERAL CLAIM
         SETTLEMENT AGREEMENT, THE INTER-DEBTOR RESTRUCTURING
        AGREEMENT AND THE RESTRUCTURING PAYMENT AGREEMENT AND
                        (II) GRANTING RELATED RELIEF

             I, Steven P. Coverick, hereby declare under penalty of perjury:

                     1.     I am a Managing Director at Alvarez & Marsal North America, LLC

(“A&M”), a restructuring advisory services firm specializing in interim management, crisis

management, turnaround consulting, operational due diligence, creditor advisory services and

financial and operation restructuring.

                     2.     I have more than 10 years of restructuring and financial advisory

experience across various industries, including energy, technology, media, telecommunications,

logistics and healthcare. I have a Bachelor’s Degree from the Kelley School of Business at

Indiana University, am a CFA® charterholder, and am recognized as a Certified Turnaround

Professional by the Turnaround Management Association.




1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
      and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
      the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
      is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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                     3.   Since joining A&M, I have been involved in numerous Chapter 11

restructurings, including Seadrill Limited, iHeart Media Inc., White Star Petroleum Holdings,

LLC, Templar Energy LLC and Expro International Group Holdings Limited.

                     4.   I submit this declaration (the “Declaration”) in support of the Motion of

Debtors For Entry of an Order (I) Authorizing and Approving Entry Into the Collateral Claim

Settlement Agreement, the Inter-Debtor Restructuring Agreement and the Restructuring Payment

Agreement and (II) Granting Related Relief (the “Motion”).2

                     5.   I am not being compensated separately for this testimony other than

through payments received by A&M as financial advisor retained by FTX Trading Ltd. and its

affiliated debtors and debtors-in-possession (collectively, the “Debtors”). Except as otherwise

indicated herein, all of the facts set forth in this Declaration are based upon my personal

knowledge, my review of relevant documents, information provided to me by A&M

professionals involved in advising the Debtors in the above-captioned case (the “Chapter 11

Case”) or information provided to me by the Debtors. If called upon to testify, I could and

would testify to the facts set forth herein on that basis. I am authorized to submit this

Declaration on behalf of the Debtors.

         FTX Europe Balance Sheet

                     6.   According to the Debtors’ currently available books and records, as of

November 30, 2023, FTX Europe’s assets were approximately $126.5 million,3 including (i) an



2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
3
    Based on the local (unaudited) management accounts of FTX Europe prepared on a going concern basis as of
    November 30, 2023, adjusted to reverse the impairment of the approximately $102.5m intercompany receivable
    against FTX Trading. The approximately $102.5m receivable was fully impaired in the local accounts in
    accordance with Swiss accounting principles (principle of prudence) based on the circumstances prevailing in
    February 2023 when the impairment was booked by FTX Europe.


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intercompany receivable of approximately $102.5 million against FTX Trading in respect of

certain digital assets transferred from FTX Europe to FTX Trading (the “FTX Europe Claim”),

(ii) fixed assets, participations and other receivables representing approximately $18.2 million,4

and (iii) cash and cash equivalents of approximately $5.8 million.

                     7.   According to the Debtors’ currently available books and records, as of

November 2023, FTX Europe’s equity was negative $2.3 million and liabilities were

approximately $128.8 million,5 including (i) a payable of approximately $63,777,0006 held by

CM-Equity against FTX Europe, as described in further detail below, (ii) an intercompany

payable of approximately $60.2 million to Alameda Research in respect of certain stablecoin

transfers made by Alameda Research to FTX Europe relating to prepetition business activities

facilitated by FTX Europe (the “Alameda Claim”), (iii) approximately $3.1 million owed by

FTX Europe to FTX Trading in respect of certain pre-petition intercompany loans and operating

expenses paid by FTX Trading on behalf of FTX Europe (the “FTX Trading Expenses Claim”),

(iv) approximately $0.2 million owed by FTX Europe to WRS in respect of pre- and post-

petition payroll and other charges paid by WRS on behalf of FTX Europe (together with the FTX

Trading Expenses Claim, the “Expenses Claims”), (v) other miscellaneous intercompany

payables of approximately $0.3 million and (vi) other miscellaneous net payables to third-party

creditors of approximately $1.2 million.



4
    Based on carrying value pursuant to local (unaudited) management accounts of FTX Europe prepared on a
    going concern basis as of November 30, 2023.
5
    Based on the local (unaudited) management accounts of FTX Europe prepared on a going concern basis as of
    November 30, 2023.

6
    Current book value according to local (unaudited) management accounts of FTX Europe prepared on a going
    concern basis as of November 30, 2023 ($65 million payable to CM-Equity minus offsetting charges of
    approximately $1.2 million).


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         Collateral Transactions with CM-Equity

                     8.    I understand that, on October 27, 2020, CM-Equity and FTX Europe

(formerly known as Digital Assets DA AG) entered into that certain Framework Purchase

Agreement Regarding Collateral Contracts (the “Collateral Agreement”) pursuant to which CM-

Equity made certain payments to FTX Europe from time to time to collateralize tokenized stock

trading of CM-Equity’s customers (the “Collateral Payments”).

                     9.    I understand that, on April 1, 2021, Binance and CM-Equity entered into

that certain Agreement on the Purchase and Sale of Tokenized Stocks (the “Tokenized Stocks

Agreement” and together with the Collateral Agreement, the “Tokenized Stock and Collateral

Agreements”), pursuant to which Binance purchased certain tokenized stocks from CM-Equity.

The Debtors are not party to the Tokenized Stocks Agreement. I further understand that Binance

has initiated arbitration in Germany for the return of $65 million against CM-Equity in respect of

collateral transferred by Binance to CM-Equity pursuant to the Tokenized Stocks Agreement.

                     10.   In connection with the Collateral Payments, CM-Equity filed a proof of

claim in these Chapter 11 Cases in the amount of $65 million against FTX Europe and a proof of

claim in the amount of EUR 68,544,156.16 including interest against FTX Europe in its

moratorium proceedings in Switzerland (the “Moratorium Proceeding”) (collectively, the “CME

Claim”).

         The FTX Europe Restructuring

                     11.   The continued pendency of the FTX Europe Claim, the CME Claim and

the Alameda Claim, and their future adjudication in these Chapter 11 Cases and the Moratorium

Proceeding, as well as potential complications for the Debtors arising out of the pending

arbitration, are burdensome complexities that are preventing a swift resolution of FTX Europe.



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                     12.   In connection with the multi-part transaction described in the Motion, the

Debtors commenced settlement discussions with CM-Equity and Binance.

                     13.   It is my view that the Collateral Claim Settlement Agreement is the result

of good faith and extensive arm’s length negotiations.

                     14.   The Debtors expect that the releases and settlements contemplated by the

FTX Europe Restructuring will enable FTX Europe to wind down on a solvent basis in

accordance with applicable Swiss law proceedings.

                     15.   I understand that, taken together, the Collateral Claim Settlement

Agreement, the Inter-Debtor Restructuring Agreement and the Restructuring Payment

Agreement will (i) offset intra-group claims (the Alameda Claim and FTX Europe Claim)

thereby simplifying the financial position of FTX Europe, (ii) release the CME Claim (filed

against the Debtors for $65 million) in consideration for FTX Trading’s assumption of the

Binance Allowed Claim (value $50 million), (iii) result in a payment to CM-Equity in relation to

costs incurred by CM-Equity (value $1 million), and (iv) allow FTX Trading to realize the value

of its concessions to FTX Europe as a result of the restructuring transactions. This will result in

the avoidance of potential litigation, a $14 million net reduction of claims against the Debtors

and a significant acceleration of FTX Europe’s ability to exit the Moratorium Proceeding

through a solvent liquidation.

                     16.   Moreover, the Inter-Debtor Restructuring Agreement, the Collateral Claim

Settlement Agreement and the Restructuring Payment Agreement are a crucial part of the

broader multi-part arrangement described above, which, as a result of the Sale Transaction, will

be value-accretive to estate creditors.




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                     17.    Based upon the facts presented to me as a result of the analysis described

above and based upon my understanding of the claims and disputes as presented to me by A&M

and the Debtors’ counsel, it is my opinion that, in its totality (a) the FTX Europe Restructuring

Agreements contain reasonable terms and conditions, (b) the benefits of the FTX Europe

Restructuring outweighs the alternative of continued litigation and investigation and (c) entry

into the FTX Europe Restructuring Agreements is in the best interests of the Debtors, their

estates and all stakeholders.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct to the best of my knowledge,

information and belief.



 Dated: April 10, 2024                                 /s/ Steven P. Coverick
                                                       Steven P. Coverick
                                                       Alvarez & Marsal North America, LLC
                                                       Managing Director




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